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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA,                         :
                                                   :
                Plaintiff,                         :
                                                   :   Case No. CR2-06-129(8)
                v.                                 :   JUDGE ALGENON L. MARBLEY
                                                   :
 JAMES K. HAPP,                                    :
                                                   :
                Defendant.                         :

                                       OPINION & ORDER

                                       I. INTRODUCTION

        This matter is before the Court on Defendant James K. Happ’s (“Defendant’s” or

 “Happ’s”) Motion to Dismiss Count 17 of the Superseding Indictment (no. 812). Happ asks this

 Court to dismiss Count 17, which charged him with money laundering conspiracy, because:

 (1) he believes the Count does not allege that the transaction involved profits rather than net

 proceeds, which he believes is required by United States v. Santos, __ U.S. __ 128 S.Ct. 2020

 (2008); and (2) he believes Count 17 does not sufficiently set forth the facts and circumstances

 of the alleged money laundering conspiracy. For the reasons set forth below, Happ’s Motion to

 Dismiss is DENIED.

                                             II. FACTS

        On November 18, 2002, the Government raided National Century Financial Enterprises,

 Inc.’s (“NCFE’s”) offices. Three-and-a-half years later, a grand jury returned a multi-count

 indictment against seven NCFE executives. The indictment charged the defendants with, among

 other things, conspiracy, mail fraud, wire fraud, and securities fraud. These charges stem from

 the defendants’ alleged scheme to defraud investors in NCFE asset-backed securities programs
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 starting in August 1992 and culminating in November 2002. Happ was not charged in the

 original indictment.

         NCFE financed healthcare providers by purchasing the providers’ accounts receivable.

 NCFE raised the capital to buy the accounts receivable by selling asset-backed bonds to large

 institutional investors, such as pension funds and investment firms, through its subsidiary

 funding programs, NPF VI, Inc. and NPF XII, Inc. The Government alleges that NCFE told

 investors that the receivables served as collateral for the NPF VI and NPF XII bonds. Because

 the bonds were supposedly backed by the receivables, investors were led to believe that the

 bonds were safe and reliable.

         In truth, contends the Government, between 1995 and 2002, Defendants engaged in a

 scheme to defraud whereby they advanced investor funds to healthcare providers without getting

 qualified receivables in return. This converted the investors’ bonds from what they believed to

 be highly secure assets to risky unsecured loans to the healthcare providers. The Government

 alleges that Defendants’ scheme created shortfalls in the NPF VI and NPF XII accounts—since

 Defendants were outlaying cash to the healthcare providers without getting receivables in

 return—that Defendants concealed from investors through a variety of ploys, including falsifying

 their financial data.

         On July 10, 2007, a grand jury returned a superseding indictment. Defendant Happ was

 charged in that indictment with involvement in the scheme described above. Happ is personally

 charged with conspiracy, wire fraud, and money laundering conspiracy. He has not been

 charged with substantive money laundering.




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                                     III. LAW AND ANALYSIS

                                       A. Standard of Review

             The Sixth Amendment gives a defendant the right to “be informed of the nature and

 cause of the accusation” against him. U.S. Const. amend VI. To meet this constitutional

 requirement, an indictment need only (1) “contain the elements of the offense charged and fairly

 inform[] a defendant” of the charges against him; and (2) enable the defendant to plead double

 jeopardy in a subsequent proceeding against him. Hamling v. United States, 418 U.S. 87, 117

 (1974); United States v. Maney, 226 F.3d 660, 663 (6th Cir. 2000). Under Federal Rule of

 Criminal Procedure 7(c)(1) an indictment is simply a “plain, concise and definite written

 statement of the essential facts constituting the offense charged.”

      B. Defendant’s Request for Dismissal of Count 17 Based on United States v. Santos

         Happ argues that Count 17 should be dismissed because “the note or bond proceeds

 making up the NPF VI and NPF XII funds cannot be construed as ‘profits’ in light of United

 States v. Santos.” (Df. Mot., 3). In Santos, a plurality of the Supreme Court held that

 “proceeds” means “profits” when an illegal gambling operation is the “specified unlawful

 activity” giving rise to a money-laundering charge. Santos, 128 S.Ct.,at 2025, 2033-34. The

 Government argues that the transactions forming the basis of Defendant’s money laundering

 conspiracy charge involved the “profits” of his securities and wire fraud activities, not the gross

 receipts.1




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           The Government also believes that Santos is inapplicable to this case because the
 holding “only applies to gambling cases.” Because it is unnecessary to decide Happ’s motion to
 dismiss, the Court declines to reach this issue.

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         The Court has already considered and rejected Happ’s argument in the context of Happ’s

 co-defendants’ Rule 33 Motions. United States v. Poulsen, 568 F.Supp.2d 885, 912-915 (S.D.

 Ohio 2008); (No. 758, 46-50.) In this Court’s August 1, 2008 Order, denying Happ’s co-

 defendant’s motions for a new trial, the Court found that “[e]ven if ‘proceeds’ means ‘profits’ [in

 this case] the transactions forming the basis for the Defendants’ money-laundering convictions

 did indeed involve the ‘profits’ of their securities and wire fraud activities, not the gross

 receipts.” Id. at 913. This Court further explained:

         In this case, the billions of dollars National Century collected from investors
         constituted the “gross receipts” of [Happ’s co-defendants’] “specified unlawful
         activity,” i.e., their securities and wire fraud. Unlike in Santos, the transactions
         that formed the basis for [Happ’s co-defendants’] money-laundering convictions
         had nothing to do with paying their expenses. The Government did not allege
         that [Happ’s co-defendants’] laundered money by paying their employees or
         paying costs associated with marketing their NPF programs or the services of
         outside professionals, like the indenture trustees and auditors . . . the
         Government’s theory . . . was that Defendants laundered money by making
         unsecured loans (i.e., “advances”) to financially shaky healthcare providers, many
         of which National Century’s principals had a separate ownership stake in. The
         advances were not “expenses” of Defendants’ securities and wire fraud; rather,
         they were separate transactions designed to prop up the principals’ other business
         interests.

 Id. at 914.

         Happ is charged with the same money laundering conspiracy as his co-defendants.

 Consequently, the same reasoning applies here. Happ asserts no new arguments for his position.

 Therefore, for the reasons set forth in this Court’s August 1, 2008 Order, the Court finds that the

 alleged money laundering charged in the indictment involves the profits of the alleged unlawful

 activities and the Count 17 cannot be dismissed on the basis of Santos.

                                     C. Sufficiency of Count 17

         The allegations of an offense in an indictment are generally sufficient if they track the



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 language of the statute itself. Hamling, 418 U.S. at 117-18 (stating the language of the statute

 may be used but must be accompanied with such a statement of the facts and circumstances as

 will inform the accused of the offense with which he is charged). A court may consider the overt

 acts listed in one count of an indictment when evaluating the sufficiency of another count.

 United States v. Salisbury, 983 F.2d 1369, 1374 (6th Cir. 1993). A court uses “common sense

 construction” when determining whether the indictment sufficiently informed the defendant of

 the charges against him. Maney, 226 F.3d at 663 (quoting Allen v. United States, 867 F.2d 969,

 971 (6th Cir. 1989). Moreover, an indictment need not “expressly set out every action of the

 defendant which may have contributed to the commission of the crime charged.” United States

 v. Moree, 897 F.2d 1329, 1333 (5th Cir. 1990).

        Happ claims that Count 17 of the Superseding Indictment must be dismissed because it

 does not sufficiently allege a money laundering conspiracy. Specifically, he argues that the

 indictment fails to include the “money laundering transaction” that he allegedly conspired to

 commit and “the amount of the proceeds.” Happ contends that the indictment does not properly

 allege specified unlawful activity that is distinct from the money laundering activity. As a result,

 Happ claims that he is incapable of preparing his defense and will not be able to plead double

 jeopardy in a subsequent proceeding.

        In response, the Government argues that the indictment tracks the statutory language and

 alleges every element of a money laundering conspiracy charge under 18 U.S.C. §§

 1956(a)(1)(B)(i) and 1956(h). Furthermore, the Government claims that paragraphs 1-17 of the

 indictment, which explain the alleged scheme to defraud and the persons allegedly involved in

 that scheme, and paragraphs 21-42 of the indictment, which explain the overt acts allegedly

 taken in furtherance of the alleged conspiracy at NCFE, provide adequate notice of the specified


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 unlawful acts involved and provide Happ with sufficient facts to plead double jeopardy and to

 understand the charges against him.

        The Court has carefully reviewed Count 17 of the indictment and the specified acts of

 unlawful activity alleged in paragraphs 1-17 and 21-42 and finds that the indictment is

 constitutionally sound. The money laundering conspiracy count tracks the language of the

 statutory offense. Section 1956(a)(1)(B)(i) of the federal money-laundering statute prohibits

 concealment money laundering. That section reads in pertinent part:

        Whoever, knowing that the property involved in a financial transaction represents
        the proceeds of some form of unlawful activity, conducts or attempts to conduct
        such a financial transaction which in fact involves the proceeds of specified
        unlawful activity . . . knowing that the transaction is designed in whole or in part
        . . . to conceal or disguise the nature, the location, the source, the ownership, or
        the control of the proceeds of specified unlawful activity [has committed money
        laundering].

 18 U.S.C. § 1956(a)(1)(B)(i). Section 1956(h) criminalizes conspiracy to commit money

 laundering stating, “[a]ny person who conspires to commit any offense defined in this section . . .

 shall be subject to the same penalties as those prescribed for the offense the commission of

 which was the object of the conspiracy.” 18 U.S.C. § 1956(h). To establish money laundering

 conspiracy in this Circuit, the government need only prove that the defendant “agreed with

 another person to violate the substantive provisions of the money-laundering statute during the

 period alleged in the indictment.” United States v. Hynes, 467 F.3d 951, 964 (6th Cir. 2006).

 The government need not prove that the defendant committed any overt act in furtherance of a

 money laundering conspiracy. Whitfield v. United States, 543 U.S. 209, 214 (2005).

        Count 17 states that Happ and his co-defendants:

        did unlawfully and knowingly conspire and agree with one another and with
        others known and unknown to the Grand Jury, to commit certain offenses under
        18 U.S.C. § 1956, to conduct and attempt to conduct financial transactions


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        affecting interstate and foreign commerce, which transactions involved the
        proceeds of specified unlawful activity, that is, wire fraud and fraud in the sales of
        securities, and that while conducting and attempting to conduct such financial
        transactions knew that the property involved in the financial transactions
        represented the proceeds of specified unlawful activity, knowing that the
        transactions were designed in whole or in part to conceal and disguise the nature,
        location, source, ownership, and control of the proceeds of said specified
        unlawful activity, in violation of 18 U.S.C. § 1956(a)(1)(B)(I) (concealment
        money laundering). In violation of 18 U.S.C. § 1956(h).

 Thus, Count 17 includes all the statutorily required elements of a money laundering conspiracy

 charge. The Count charges Happ with agreeing with co-defendants Poulsen, Ayers, Parrett,

 Speer, Faulkenberry, Beacham, and Dierker to conduct unspecified financial transactions during

 a seven year period with the intent of concealing illegal proceeds. That is sufficient. United

 States v. Musick, No. 05-5563, 2008 WL 4090648, at *6 (6th Cir. Aug. 29, 2008) (holding

 money laundering conspiracy indictment count sufficient where it charged the defendant “with

 agreeing to conduct unspecified financial transactions over a five-year period with the intent of

 concealing illegal proceeds”).

        Happ argues that the indictment is insufficient because it fails to include the “money

 laundering transaction” that he allegedly conspired to commit and “the amount of the proceeds.”

 However, the Count does include the “money laundering transaction”–it alleges that Happ

 conspired to violate 18 U.S.C. § 1956(a)(1)(B)(I). The Government need not allege the object of

 the charged money laundering conspiracy with greater detail in the indictment. Musick,2008

 WL 4090648, at *6. Moreover, there is no requirement that the Government allege the “amount

 of the proceeds” to be laundered and Happ has not produced any caselaw to support this

 contention.

        Furthermore, paragraphs 1-17 and 21-42 are incorporated by reference in Count 17 and

 explain in detail the specified unlawful activity that underlies the money laundering conspiracy


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 charge. United States v. Bolden, 325 F.3d 471, 491-92 (4th Cir. 2003) (holding money

 laundering conspiracy charge sufficient where the charge incorporated by reference the overt

 acts in the 18 U.S.C. § 371 conspiracy charge, which constituted the specified unlawful activity).

 This is more detail than is required for a money laundering conspiracy charge to be sufficient.

 United States v. Smith, 44 F.3d 1259, 1265 (4th Cir. 1995) (“[D]etails about the nature of the

 unlawful activity underlying the character of the proceeds need not be alleged.”) Happ contends

 that the indictment does not properly allege specified unlawful activity that is distinct from the

 money laundering activity as necessary to sustain a conviction for substantive money laundering,

 citing United States v. Christo, 129 F.3d 578 (11th Cir. 1997), which deals with the sufficiency

 of a defendant’s § 1957 substantive money laundering conviction, and United States v. Hamilton,

 No. 4:07 CR 432, 2007 WL 323518, *1-2 (E.D. Mo. Nov. 1, 2007). The Court disagrees.

        Here, the crux of the money laundering and money laundering conspiracy charges in the

 indictment is that the defendants first committed wire and securities fraud to convince investors

 to invest in NCFE and then laundered the money (or conspired to launder the money in Happ’s

 case) by making unsecured loans to healthcare providers. Thus, the specified unlawful activity is

 distinct from the money laundering activity. Consequently, Happ’s argument fails.

        Armed with the allegations in Count 17 and the information in paragraphs 1-17 and 21-

 42, Happ has more than enough information to prepare his Defense and to plead double jeopardy

 in the future. Therefore, Count 17 is sufficiently charged and will not be dismissed.2

        2
           In reaching its conclusion that Count 17 was not so vague that Happ could not prepare
 his defense, the Court notes that there has been expansive discovery in this case, involving the
 Government’s disclosure of roughly 200,000 pages of documents. Moreover, Happ has had a
 preview of the evidence against him based on the trial of his severed co-defendants in February
 2008 and October 2008. Finally, on August 15, 2008, in compliance with this Court’s order, the
 Government provided a narrowed list of the specific documents it may use at trial against Happ
 (no. 785).

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                                    IV. CONCLUSION

       For the reasons discussed above, Defendant Happ’s Motion to Dismiss (no. 812) is

 DENIED. Also, the Defendant’s request for a hearing on this Motion is DENIED.

       IT IS SO ORDERED.



                                                      s/Algenon L. Marbley
                                                   ALGENON L. MARBLEY
                                                   United States District Court Judge


 DATE: November 25, 2008




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